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     SURRINDER PAL SINGH
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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,             )
12                                         ) Case No. CR-S-09-0125 FCD
                           Plaintiff,      )
13                                         ) ORDER ON RETURN OF CASH TO
            v.                             ) SURETY
14                                         )
                                           ) Date: July 20, 2009
15                                         ) Time: 2:00 p.m.
     SURRINDER PAL SINGH                   ) Judge: Hon. Gregory G.
16                                         )     Hollows
                  Defendants.
17   __________________________
18          Good cause appearing: It is hereby ordered that the cash
19   deposited in the amount of $50,000 cash is to be returned to
20   the surety who posted it, as the above-referenced defendant’s
21   release has now been modified to unsecured appearance bond.
22          All remaining orders in the case shall remain in full
23   force and effect.
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28   Order on return of cash to surety
              Case 2:09-cr-00125-WBS Document 58 Filed 07/23/09 Page 2 of 2


 1          IT IS SO ORDERED:
 2
 3   DATED: July 23, 2009                /s/ Gregory G. Hollows
 4                                       _______________________________
                                         The Honorable Gregory G. Hollows
 5                                       United States Magistrate Judge
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     Order on return of cash to surety         2
